                   Case
        0DUJDUHW/DP     3:20-cv-05671-JD Document 624-23
                      *RRJOH                                               Filed 12/21/23 Page 1 of 1
        0DUJDUHW/DP *RRJOH 3UH\H2NDK *RRJOH 0DULH0DFNH\ *RRJOH




Margaret Lam (Google)




Preye Okah (Google)




Preye Okah (Google)




Preye Okah (Google)




Preye Okah (Google)




Margaret Lam (Google)




Margaret Lam (Google)




Preye Okah (Google)




Marie Mackey (Google)




Preye Okah (Google)




                                                                                              EXHIBIT 8020

                                                                                                        EXHIBIT 8020-001
